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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


FREDERICK FULLER; Thaddeus Edwards;             §     DCKT NO. ______________
Jarvis Sandifer; and of similarly situated      §
individuals;                                    §
                                                §     JURY TRIAL DEMANDED
       Plaintiffs,                              §
                                                §
       -vs-                                     §
                                                §     COLLECTIVE ACTION
JUMPSTER ENTERPRISES LLC;                       §
TForce Final Mile LLC; Office Depot, Inc.;      §     PURSUANT TO 29 U.S.C.
Brian Tyson; and Kathleen Tyson                 §     §216(b)
                                                §
       Defendants.                              §
______________________________________________________________________________

                PLAINTIFFS’ COMPLAINT – COLLECTIVE ACTION
______________________________________________________________________________

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       NOW COMES FREDERICK FULLER; THADDEUS EDWARDS; and JARVIS

SANDIFER, by and through their attorneys The Estes Law Firm, P.C., individually and on behalf

of all others similarly situated individuals, and files this, their Complaint against Defendants as

follows:

                           I. COLLECTIVE ACTION COMPLAINT

   1. This is a collective action brought pursuant to 29 U.S.C. §216(b) by Plaintiffs’ Frederick

Fuller, Thaddeus Edwards, Jarvis Sandifer, on behalf of themselves and all others similarly

situated, which arises from Defendants’ willful violation of the federal Fair Labor Standards Act

(hereinafter “FLSA”), 29 U.S.C. §201, et seq. and the Texas Labor Code, Chapters 61 and 62, for

misclassification as independent contractors, failure to pay the minimum wage for all time worked,

failure to pay overtime premium wages, unlawfully deducting Plaintiffs’ wages, failure to pay all

wages due upon separation from employment, and failure to provide itemized earnings statements.
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    2. All statements are made upon information and belief.

    3. Defendant Jumpstar Enterprises LLC employed plaintiffs as delivery drivers to deliver

packages and furniture.

    4. Defendant TForce Final Mile LLC employed plaintiffs as delivery drivers to deliver

packages and furniture.

    5. Defendant Office Depot, Inc. employed plaintiffs as delivery drivers to deliver packages

and furniture.

    6. Defendant Brian Tyson supervised and directed plaintiffs in their day-to-day job duties.

    7. Defendant Kathleen Tyson supervised and directed plaintiffs in their day-to-day job duties.

    8. Defendants’ Brian Tyson and Kathleen Tyson exercised control over the nature and

structure of the employment relationship or exercised economic control over the relationship and

are therefore deemed an employer within the meaning of the FLSA, and are therefore subject to

liability.

    9. Plaintiffs’ worked as delivery drivers for Defendants’ but never drove across state lines

and are not covered by the motor carrier exemption to the FLSA.

    10. Plaintiffs’ were not exempt from the overtime requirements of the FLSA.

    11. Plaintiffs’ appear to have been regarded as independent contractors but were clearly

employees within the meaning of the FLSA and Texas Labor Code.

    12. Defendants’ deducted from Plaintiffs’ wages the costs of gasoline for the delivery trucks

and the cost of diesel exhaust fluid. Plaintiffs’ never consented to these deductions and never

signed any authorization in writing, in violation of Texas Labor Code §61.018. These deductions

occasionally pushed their wages below the minimum wage, in violation of 29 U.S.C. §206 and

Texas Labor Code §62.051.

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    13. Plaintiffs’ were paid on a piece rate basis and were never paid an overtime premium despite

frequently working more than 40 hours in a work week, in violation of 29 US.C. §207.

    14. Defendants violated Texas Labor Code §61.014 by failing to pay Plaintiffs’ in full not later

than the sixth day after the date the employee was discharged or the next regularly scheduled

payday if the employee left employment other than by discharge.

    15. Defendants violated Texas Labor Code §62.003 by failing to give Plaintiffs’ and others

similarly situated, proper earning statements.

    16. Plaintiff brings this claim under the FLSA and Texas Labor Code on behalf of all similarly

situated employees who may choose to opt into this action pursuant to 29 U.S.C. §216(b).

                                II. JURISDICTION AND VENUE

    17. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because Plaintiffs

have brought a claim pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

    18. Venue is proper in this Court because two Plaintiffs’ reside within this judicial district, and

because all or a substantial part of the events or omissions giving rise to Plaintiffs’ claim occurred

within this District.

                                           III.    PARTIES

    19. Plaintiff Frederick Fuller is an individual and resident of Houston, Texas. Plaintiff worked

for Defendants as a delivery driver at various times during the class period.

    20. Plaintiff Thaddeus Edwards is an individual and resident of Houston, Texas. Plaintiff

worked for Defendants as a delivery driver at various times during the class period.

    21. Plaintiff Jarvis Sandifer is an individual and resident of Mississippi. Plaintiff worked for

Defendants as a delivery driver at various times during the class period.



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    22. Defendant Jumpstar Enterprises, LLC d/b/a Jumpstar Logistics is a domestic corporation

doing business in Texas. It may have forfeited its corporate existence on February 2, 2018,

Jumpstar Enterprises, LLC may be served at its registered agent Brian Tyson, 12807 Haynes Rd.,

Bldg. J, Houston, Texas 77066.

    23. Defendant TForce Final Mile LLC, is a foreign corporation doing business in Texas. It

may be served at its registered agent Corporation Service Company, 211 E. 7th St., Ste. 620, Austin,

Texas, 78701.

    24. Defendant Office Depot, Inc. is a foreign corporation doing business in Texas. It may be

served at its registered agent C T Corporation, 1999 Bryan St. Ste. #900, Dallas, Texas 75201.

    25. Defendant Brian Tyson is an individual who is or was an officer or director of Jumpstar

Enterprises and may be served at 12807 Haynes Rd., Bldg. J, Houston, Texas 77066 or 33300

Egypt Lane, Montgomery, Texas 77316. Defendant Brian Tyson exercised control over the nature

and structure of the employment relationship or exercised economic control over the relationship

and is therefore deemed an employer within the meaning of the FLSA and is therefore subject to

liability.

    26. Defendant Kathleen Tyson is an individual who is or was an officer or director of Jumpstar

Enterprises and may be served at 12807 Haynes Rd., Bldg. J, Houston, Texas 77066 or 33300

Egypt Lane, Montgomery, Texas 77316. Defendant Kathleen Tyson exercised control over the

nature and structure of the employment relationship or exercised economic control over the

relationship and is therefore deemed an employer within the meaning of the FLSA and is therefore

subject to liability.

                                 IV.     STATEMENT OF FACTS

    27. All statements are made upon information and belief.

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   28. Plaintiffs’ worked as delivery drivers for the Defendants. Plaintiffs’ would pick up Office

Depot, Inc. packages and furniture from a TForce Final Mile, LLC warehouse, and drive the

packages in Jumpstar Enterprises LLC delivery trucks to the Office Depot, Inc. customers who

purchased the packages and furniture.

   29. Plaintiffs’ would routinely work more than 40 hours per week.

   30. Plaintiffs’ would often work 14 hours a day, 5 days a week.

   31. Plaintiffs’ were paid on a piece rate basis. They were paid per package or piece of furniture

delivered.

   32. Plaintiffs’ never received a 1099 or W-2 statement from Defendants.

   33. Plaintiffs’ drove trucks that were owned by Defendants.

   34. Plaintiffs’ drove trucks that had Defendants’ name on the side of them.

   35. Plaintiffs’ drove trucks that had Department of Transportation registration numbers that

were issued to Defendants.

   36. Plaintiffs’ wore uniforms that bore Defendants’ logo and identifying information.

   37. Plaintiffs’ were covered under insurance policies which were paid for by Defendants.

   38. Plaintiffs’ delivered packages following a delivery schedule which was provided to them

each day by Defendants.

   39. Plaintiffs’ had no authority or ability to refuse the delivery schedule which was provided

to them.

   40. Plaintiffs’ were given a credit card to use to purchase fuel and diesel exhaust fluid for use

in the Defendants’ trucks. Plaintiffs’ then had any amounts charged to those credit cards deducted

from their wages. In several instances, these deductions pushed their wages below the minimum

wage.

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   41. Plaintiffs’ never consented to deductions of their wages for the cost of purchasing fuel and

diesel exhaust fluid for Defendants’ vehicles and never signed a written authorization.

   42. Plaintiffs’ received earnings statements that failed to provide them all of the required

information including the name of the employee, the rate of pay, the total amount of pay earned

by the employee during the pay period; any deductions made from the employee’s pay and the

purpose of the deduction; the amount of pay after all deductions are made; and the total of either

the hours worked by employee or units produced by the employee during the pay period.

   43. Plaintiffs’ have all separated from employment but were not paid all of the wages they

were due within the time period required by law.

                                      V. COLLECTIVE ACTION

   44. This cause of action is brought as a collective action under FLSA, 29 U.S.C. §216(b).

   45. Plaintiffs’ bring this cause of action on behalf of themselves and all other similarly situated

hourly employees of Defendants who have worked as drivers from three years prior to the date of

the filing of this action through the date of final judgment in this matter.

   46. Plaintiffs’ and other hourly employees who worked as drivers are “similarly situated” as

that term is used in 29 U.S.C. §216(b) in that they all performed similar job duties, were paid in a

similar manner, and were subject to similar control and direction by Defendants. Consequently,

the proposed class of plaintiffs were all subjected to a common scheme or plan of Defendants to

deny them all of the wages to which they are entitled. Thus, resolution of this action requires

inquiry into common facts, including, inter alia, Defendants’ common compensation,

timekeeping, and payroll practices.

   47. The similarly situated hourly employees proposed as class members in this action are

known to Defendants, are readily identifiable, and may be located through Defendants’ records, as

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well as the records of any payroll companies that Defendants have utilized. Defendants have

employed, and continue to employ, many hourly employees throughout the state of Texas. These

similarly situated employees may be readily notified of this action through direct U.S. mail and/or

other appropriate means, and allowed to opt into a class pursuant to 29 U.S.C. §216(b), for the

purpose of collectively adjudicating their claims for unpaid wages, civil fines, liquidated damages,

interest, and attorneys’ fees and costs under the FLSA and Texas Labor Code.

   48. A copy of Frederick Fuller’s, Thaddeus Edwards’, and Jarvis Sandifer’s consents to bring

this claim for failure to pay minimum wages, overtime wages, failure to pay all amounts due within

the required time after separation from employment, failure to provide a particularized earnings

statement, and the unlawful deduction of wages, under the FLSA and Texas Labor Code is attached

hereto as Exhibit A.

                         VI.   FIRST CAUSE OF ACTION
                 VIOLATION OF THE FAIR LABOR STANDARDS ACT
                             Failure to Pay Overtime
                              (Against all Defendants)

   49. Plaintiffs’ incorporate herein all previously stated allegations.

   50. Pursuant to the Fair Labor Standards Act, 29 U.S.C. §207(a)(1), an employer must pay an

employee overtime at a rate not less than one and a half (1.5) times the employee’s regular rate of

pay for all hours worked in excess of forty hours per week.

   51. Plaintiffs’ regularly worked in excess of forty hours per week but were not paid any

overtime premium for hours worked in excess of forty hours per week.

   52. Defendants knowingly, intentionally, and willfully failed to pay Plaintiffs’ overtime

premium pay for hours worked in excess of forty hours per week.




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   53. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs’ have

suffered, and will continue to suffer, lost wages and other damages.

   54. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                         VII.      SECOND CAUSE OF ACTION
              Count 1: VIOLATION OF THE FAIR LABOR STANDARDS ACT
                              Failure to Pay Minimum Wage
                                  (Against all Defendants)

   55. Plaintiffs’ incorporate herein all previously stated allegations.

   56. Pursuant to the Fair Labor Standards Act, 29 U.S.C. 206(a), Defendants’ must pay each of

their employees at least the federal minimum wage of $7.25/hour for any hours worked.

   57. Plaintiffs’ performed work for Defendants’ within the last two years.

   58. Plaintiffs’ were paid on a piece rate basis.

   59. Plaintiffs’ were routinely and regularly paid amounts that fell below the federal minimum

wage of $7.25/hour.

   60. Defendants knowingly, intentionally, and willfully failed to pay Plaintiffs’ at least the

federal minimum wage for all time worked.

   61. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs’ have

suffered, and will continue to suffer, lost wages and other damages.

   62. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                Count 2:       VIOLATION OF THE TEXAS LABOR CODE
                                 Failure to Pay Minimum Wage
                                     (Against all Defendants)

   63. Plaintiff incorporates herein all previously stated allegations.


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   64. Pursuant to Texas Labor Code §62.051, Defendants’ must pay each of their employees at

least the federal minimum wage of $7.25/hour for any and all hours worked.

   65. Plaintiffs’ performed work for Defendants’ within the last two years.

   66. Plaintiffs’ were paid on a piece rate basis.

   67. Plaintiffs’ were routinely and regularly paid amounts that fell below the federal minimum

wage of $7.25/hour.

   68. Defendants knowingly, intentionally, and willfully failed to pay Plaintiffs’ the minimum

wage for all hours worked.

   69. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs’ have

suffered, and will continue to suffer, lost wages and other damages.

   70. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                             VIII. THIRD CAUSE OF ACTION
                        VIOLATION OF THE TEXAS LABOR CODE
                        Failure to Provide Proper Earnings Statements
                                      (Against all Defendants)

   71. Plaintiffs’ incorporate herein all previously stated allegations.

   72. Pursuant to Texas Labor Code §62.003, Defendants’ must provide Plaintiffs’ with an

earnings statement at the end of each pay period which provides all of the information required in

the statute, including but not limited to: the name of the employee, the rate of pay, the total amount

of pay earned by the employee during the pay period; any deductions made from the employee’s

pay and the purpose of the deduction; the amount of pay after all deductions are made; and the

total of either the hours worked by employee or units produced by the employee during the pay

period.


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   73. Defendants’ failed to provide Plaintiffs’ with the required earnings statements.

   74. Defendants knowingly, intentionally, and willfully failed to provide Plaintiffs’ with the

required earnings statements.

   75. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs’ have

suffered, and will continue to suffer, lost wages and other damages.

   76. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                          IX.    FOURTH CAUSE OF ACTION
                       VIOLATION OF THE TEXAS LABOR CODE
             Failure to Pay All Wages Due Upon Separation from Employment
                                   (Against all Defendants)

   77. Plaintiff incorporates herein all previously stated allegations.

   78. Pursuant to Texas Labor Code §61.014, Defendants’ must pay in full any employee who

is discharged from employment not later than the sixth day after the date the employee is

discharged; or must pay any employee in full who leaves employment other than by discharge, not

later than the next regularly scheduled payday.

   79. Plaintiffs’ have all left employment of Defendants and it has been more than 31 days.

   80. Defendants’ have not paid Plaintiffs’ all money they are due.

   81. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs have

suffered, and will continue to suffer, lost wages and other damages.

   82. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                            X. FIFTH CAUSE OF ACTION
                       VIOLATION OF THE TEXAS LABOR CODE
                           Conducting of Unlawful Deductions
                                (Against all Defendants)

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    83. Plaintiffs’ incorporate herein all previously stated allegations.

    84. Pursuant to Texas Labor Code §61.018, Defendants’ may not withhold or divert any part

of an employee’s wages unless the employer is authorized to do so by a court of competent

jurisdiction; is authorized to do so by state or federal law; or the employer has written authorization

from the employee to deduct part of the wages for a lawful purpose.

    85. Defendants’ repeatedly deducted from Plaintiffs’ wages for the costs of fuel, diesel exhaust

fluid, and other costs.

    86. Plaintiffs’ never signed a written authorization permitting the deductions.

    87. Defendants’ did not have lawful authority to deduct Plaintiffs’ wages.

    88. Defendants’ knowingly, intentionally, and willfully unlawfully deducted Plaintiffs’ wages.

    89. As a direct and proximate result of Defendants’ willful unlawful conduct, Plaintiffs’ have

suffered, and will continue to suffer, lost wages and other damages.

    90. This claim is brought on behalf of a class of similarly situated individuals who may choose

to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                                     VIII. JURY DEMAND

    91. Plaintiffs’, individually and on behalf of the putative class, demands a trial by jury for all

issues of fact.

                                   IX. PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs’ Frederick Fuller, Thaddeus Edwards, and Jarvis Sandifer, on

behalf of themselves individually and on behalf of all other persons similarly situated, known and

unknown, request that this Court enter the following relief:




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       a.     Permission for individuals throughout the State of Texas who performed work as

drivers for Defendants, who were not paid overtime premiums which they are owed, who were not

paid at least the federal minimum wage for all time worked, who were not provided proper earnings

statements, who were not paid all of their wages in full when due upon separation from

employment, or who had their wages unlawfully deducted, to opt-in to this action pursuant to

§216(b) of the FLSA;

       b.     Judgement that the Defendants’ conduct was willful;

       c.     All damages to which the named Plaintiff and class members may be entitled;

       d.     Liquidated and multiple damages as allowed by law, including double damaged

under the FLSA and Texas Labor Code;

       e.     Penalties as provided for under the FLSA including pursuant to Section 216 and

the Texas Labor Code;

       f.     An injunction prohibiting Defendants’ from further violations of the law as

described above;

       g.     Pre and post judgment interest;

       h.     Attorney’s fees and costs; and

       i.     Any other relief to which Plaintiff and class members may be entitled.



Dated: March 20, 2020

                                                     Respectfully submitted,

                                                     /s/ John Cruickshank
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                  Exhibit A




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